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                                 UNITED STATES DISTRICT COURT

                                NORTHERN DISTRICT OF CALIFORNIA


 UNITED STATES OF AMERICA,
                                                        Case No.     15-cr-00579-VC-4
                   Plaintiff,

            v.                                          ORDER REQUIRING RESPONSE TO
                                                        MOTION FOR COMPASSIONATE
 RAMON MEDINA AGUILAR,                                  RELEASE
                   Defendants.                          Re: Dkt. No. 797




       The government is ordered to file a response to the defendant’s Motion for

Compassionate Release within three court days of this order. In its response, even if it opposes

the motion, the government must propose the release language it believes the Court should use if

the motion is granted. The defendant is ordered to file a reply within two court days of the

government’s response. In the reply, the defendant must state whether he opposes any of the

government's proposed release language, and propose alternative language if he does. The Court

will then either issue a written ruling on the briefs submitted, request more information, or set a

hearing.

           If the parties file motions to seal in connection with this briefing, they should note that
the Court is not inclined to seal medical information that is the basis for a prisoner's request for

compassionate release, unless that information is particularly sensitive. The parties can redact

any particularly sensitive medical information (for example, a defendant's HIV+ status), and any

medical information that is not relevant to the request for release.

       IT IS SO ORDERED.

Dated: March 8, 2021

                                                    ______________________________________
                                                    VINCE CHHABRIA
                                                    United States District Judge
